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 UNITED STATES DISTRICT COURT FOR THE
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------------------------X
                                                                                      Case No.:
 JOHN R. HUFFMAN,

                                                      Plaintiff,                      VERIFIED
                                                                                      COMPLAINT
                           -against-

 THE CITY OF NEW YORK; MAYOR OF THE CITY OF NEW PLAINTIFF DEMANDS
 YORK ERIC ADAMS; POLICE COMMISSIONER FOR THE CITY A TRIAL BY JURY
 OF NEW YORK KEECHANT SEWELL; NYPD CHIEF OF
 DEPARTMENT JEFFREY MADDREY; NYPD CHIEF OF PATROL
 JOHN CHELL; and NEW YORK CITY POLICE DEPARTMENT
 MEMBERS JOHN or JANE DOE #1-6;

                                                       Defendants.
 ----------------------------------------------------------------------------------X
         Plaintiff, JOHN R. HUFFMAN, by his attorneys, KAISHIAN & MORTAZAVI LLC, by

MARYANNE K. KAISHIAN, ESQ., an attorney duly licensed to practice before the United States

District Court for the Eastern District of New York, hereby complains of Defendants as follows:


                                    PRELIMINARY STATEMENT

        1.       On November 22, 2022, Plaintiff John R. Huffman (“Plaintiff” or “Mr. Huffman”),

a resident of Kings County, City and State of New York, was commuting home from work when

he was placed under custodial arrest by Defendants. Mr. Huffman acknowledged marking a

subway car using a small black marker with a pro-LGBTQ message in the wake of a hate-

motivated mass shooting. Defendants immediately accosted Mr. Huffman when he exited the train

onto the subway platform. Defendants shoved Mr. Huffman into a wall and applied overly tight

handcuffs to his wrists. Upon Defendants’ request, Mr. Huffman immediately provided his true

legal identity and his valid legal identification. Nevertheless, suspecting Mr. Huffman only of

Penal Law P.L. § 145.00, Criminal Mischief, a non-violent misdemeanor charge, Defendants
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placed Mr. Huffman under arrest and transported him to the NYPD’s Transit Bureau 33 in Kings

County, where he was detained for approximately six (6) hours until his release early the following

morning, on or about November 23, 2022.

       2.      The charges against Mr. Huffman were dismissed.

       3.      Mr. Huffman now brings the instant case before this Court for, inter alia, excessive

force, excessive detention, and various violations of his statutory and constitutional rights pursuant

to New York State law.

                                             PARTIES

       4.      At all times mentioned herein, Plaintiff, JOHN R. HUFFMAN, was and is a resident

of Kings County in the City and State of New York.

       5.      At all relevant times mentioned herein, Defesndant City of New York (“Defendant

City” or “New York City”), was and is a municipal corporation duly organized and existing under

and by virtue of the laws of the State of New York and acts by and through its agencies, employees

and agents, including, but not limited to, the New York City Police Department (“NYPD”), and

their employees.

       6.      Defendant New York City Mayor ERIC ADAMS was at all times relevant to this

Complaint the Mayor of New York City. As Mayor, Defendant Adams, at all relevant times, was

an elected officer and the “chief executive officer of the city,” New York City Charter § 3, and

had final authority to appoint and/or remove any NYPD employees and agent, including the New

York City Police Commissioner. He is sued individually and in his official capacity.

       7.      Defendant NYPD Commissioner KEECHANT SEWELL was at all times relevant

to this Complaint the Police Commissioner of the NYPD. As Police Commissioner, Defendant

Sewell, personally and/or through her authorized delegates, at all relevant times had final authority

to promulgate and implement administrative and managerial policies and procedures, including


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policies and procedures as to personnel hiring, training, supervision, and discipline with respect to

NYPD officers’ performance of their duties, and constituted a City policymaker for whom the City

is liable. She is sued individually and in her official capacity.

       8.      Defendant NYPD Chief of Department JEFFREY MADDREY was at all times

relevant to this Complaint the Chief of Department of the NYPD who had policymaking authority

over the Department. At all relevant times, as Chief of Department, Defendant Maddrey had

primary responsibility for NYPD operations—that is, for the police response on the street. Within

the paramilitary structure of the NYPD, all NYPD uniformed members of the service were

obligated to obey any lawful order given by him. He is sued individually and in his official

capacity.

       9.      Defendant NYPD Chief of Patrol JOHN CHELL was at all times relevant to this

Complaint the Chief of Patrol of the NYPD who had policymaking authority over the Department.

At all relevant times, as Chief of Department, Defendant Chell had primary responsibility for

NYPD patrol operations, particularly operations involving stops of civilians on public streets,

including stops conducted while on foot and and/or while operating vehicles. NYPD uniformed

members of the service were obligated to obey any lawful order given by Defendant Chell. He is

sued individually and in his official capacity.

       10.     The true names and identities of the NYPD Member Defendants John or Jane Doe

#1-6 are currently unknown to Plaintiff. They are referred to herein collectively as

“Defendant Does.”      At all times hereinafter mentioned, these Defendant NYPD Does were

employed by the City of New York as members of the NYPD.

       11.     At all times hereinafter mentioned, all individual Defendants, either personally or

through their employees, were acting under color of state law and/or in compliance with the official




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rules, regulations, laws, statutes, customs, usages and/or practices of the State or City of New

York.

        12.    Each and every act and omission by the individual Defendants alleged herein

occurred while said Defendants were acting within the scope of their employment by the Defendant

City.

        13.    The individual Defendants were duly appointed and acting officers, servants,

employees, and agents of Defendant City who were acting for, on behalf of, and with the power

and authority vested in them by Defendant City and were otherwise performing and engaging in

conduct incidental to the performance of their lawful functions in the course of their duties.

        14.    All Defendants were each and all responsible, in whole and/or in part, for the

planning for and/or creation, promulgation, implementation, and/or enforcement of the

unconstitutional policies, practices and/or customs complained of herein, and/or condoned,

acquiesced in, adopted, and/or approved of the same, through their acts and/or failures to act, as

set forth more fully below.

        15.    At all times relevant herein, as set forth more fully below, Defendants’ actions

and/or failures to act were malicious, intentional, knowing, and/or with a deliberate indifference

to or a reckless regard for the natural and probable consequences of their acts and/or omissions.

        16.    Although they were aware of the conduct, present for it, and knew or should have

known it was unconstitutional, at no time did any of the Defendants, or any other member of the

NYPD, take any steps to intervene in, prevent, or otherwise limit the unconstitutional conduct

engaged in by their fellow officers.

        17.    Each individual Defendant is sued in her or his individual and official capacities.




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                   JURISDICTION, VENUE, and GML COMPLIANCE

       18.    This Court has jurisdiction of this action pursuant to 28 U.S.C. §§ 1331, 1343 and

1367, and 42 U.S.C. § 1983.

       19.    Venue is proper pursuant to 28 U.S.C. § 1391, et seq., in the Eastern District of

New York, where the actions complained of herein occurred.

       20.    Plaintiff timely served Notices of Claim on the municipal Defendant within ninety

(90) days of the accrual of the claims complained of herein and complied with all conditions

precedent to commencing an action under New York State law.

       21.    Plaintiff’s damages exceed the jurisdiction of lower courts.

       22.    Mr. Huffman was examined by the Defendant City of New York pursuant to GML

§50-H on June 27, 2023.

       23.    At least thirty days have elapsed since service of Plaintiff’s Notices of Claim and

adjustment and payment thereof has been neglected or refused.

       24.    This action was initiated within one year and ninety days of the accrual of all

Plaintiff’s claims pursuant to New York State Law.

                                 STATEMENT OF FACTS

       25.    At the time of the events giving rise to this Complaint, Plaintiff John R. Huffman

was a resident of Kings County, City and State of New York.

       26.    At approximately 7:00 PM, Mr. Huffman was commuting westbound on the

Brooklyn-bound L train.

       27.    Two days prior to Mr. Huffman’s arrest, a mass shooter had killed five people at a

nightclub in Colorado Springs in an anti-LGBTQ attack.




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       28.     On the day of his arrest, Mr. Huffman wrote a small message, with a Sharpie marker

as graffiti, in support of the community and opposing the anti-LGBTQ rhetoric alleged to have

motivated this hate crime.

       29.     Mr. Huffman exited the car as usual at the Bushwick Ave-Aberdeen St in Kings

County, 11207, to proceed home.

       30.     As Mr. Huffman was exiting the station, Defendant NYPD Does # 1 – 5 ran towards

him. Defendant NYPD Does # 1 – 3 were believed to be in plain clothes. Defendant NYPD Does

# 4 – 5 were wearing blue NYPD uniforms.

       31.     Mr. Huffman stopped immediately upon hearing the command and seeing at least

one Defendant Doe holding a badge. Mr. Huffman followed all lawful orders and waited for the

Defendants to reach him.

       32.     Upon doing so, Defendant NYPD Doe # 1, wearing plainclothes, threw Mr.

Huffman face-first against a wall in the station, striking his chest against the wall and causing him

pain and suffering.

       33.     Defendant NYPD Doe # 1 – 2 placed overly tight handcuffs on Mr. Huffman.

Defendants declined to loosen them despite Mr. Huffman’s stated discomfort to do so.

       34.     Mr. Huffman provided his full name and legal identification to Defendants, namely

his valid New York State driver’s license.

       35.     Defendant Does #1 – 5 searched Mr. Huffman’s backpack and personal belongings

without consent.

       36.     Defendant Does # 1 – 5 then transported Mr. Huffman to NYPD Transit Bureau 33,

in Kings County, located inside the Broadway Junction MTA station.

       37.     At approximately 8:00 PM, Mr. Huffman was able to contact his spouse, who

contacted an attorney.


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         38.   The attorney, Maryanne K. Kaishian, Esq., arrived at Transit Bureau 33

approximately 9:00 PM on November 22, 2022. She was not permitted to enter the precinct.

         39.   Mr. Huffman informed Defendants that he was represented by an attorney.

         40.   Nevertheless, Defendants # 1 – 5 repeatedly attempted to question Mr. Huffman

about the graffiti, and to ascertain whether he was responsible for any other “tags” in the area.

         41.   The attorney representing Mr. Huffman further informed Defendants, through

multiple phone calls and through conversations conducted at the door of the Transit Bureau, that

Mr. Huffman was represented by counsel and was not to be questioned.

         42.   The attorney further conveyed that Mr. Huffman was to be released in accordance

with the law, namely § 150.20(1) of the C.P.L., and upon the facts not disputed by Defendants,

including: that Mr. Huffman was accused only of criminal mischief, that he had provided valid

identification upon request, and that he was to be issued a Desk Appearance Ticket.

         43.   After approximately three hours of waiting outside Transit Bureau 33 for Mr.

Huffman’s release, approximately five hours after Mr. Huffman’s arrest, and having been barred

from speaking with Mr. Huffman since arriving, the attorney made another call to Transit Bureau

33.

         44.   The attorney informed the individual who answered the phone, Defendant Doe # 6,

believed to be assigned to the post of Desk Sergeant within the Transit Bureau and who was

answering calls to the Bureau, that Mr. Huffman needed to be released in accordance with the law,

and demanded an explanation for his five-hour detention.

         45.   Despite the statewide applicability of C.P.L., Defendant Doe # 6 informed the

attorney, in sum and substance, “This is what happens when you get arrested in the State of New

York.”




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        46.      Mr. Huffman remained in custody until approximately 1:15 AM on November 23,

2022, when he was released with a Desk Appearance Ticket.

        47.      No Defendants intervened in Mr. Huffman’s unlawful assault or confinement

despite being present for it and despite the opportunity to do so.

        48.      Mr. Huffman spent approximately six hours under arrest in Defendants’ custody at

Transit Bureau 33 despite New York State law prohibiting his custodial arrest.

        49.      Prior to his scheduled court appearance in Kings County for his Desk Appearance

Ticket, Mr. Huffman completed one session of a diversion program, and all charges against him

were dismissed.

                                             Damages

        50.      Defendants forced Mr. Huffman to experience anxiety and fear related to being

assaulted and wrongfully detained by police.

        51.      Defendants have greatly interfered with Mr. Huffman’s enjoyment and engagement

in daily life.

        52.      Defendants’ conduct caused Mr. Huffman pain, suffering, and injuries, including

injuries to his face and wrists.

        53.      Defendant’s conduct has caused Mr. Huffman mental anguish in addition to

pecuniary damages.

        54.      The full extent of Mr. Huffman’s injuries and damages is not yet known.

                                   FIRST CLAIM FOR RELIEF

                                     Excessive Force
Against Defendant Does # 1 and 2 Pursuant to 42 U.S.C. § 1983 for Defendants’ Violations of
   Plaintiff’s Rights Under the Fourth and Fourteenth Amendments to the United States
                                       Constitution




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       55.     Plaintiff incorporates by reference the allegations set forth in all preceding and

following paragraphs as if fully set forth herein.

       56.     Defendants’ use of force against Plaintiff was unjustified and objectively

unreasonable, taking into consideration the facts and circumstances that confronted Defendants.

       57.     As a result of Defendants’ acts and omissions, Defendants deprived Plaintiff of his

federal, state, and/or other legal rights; caused Plaintiff bodily injury, pain, suffering,

psychological and/or emotional injury, and/or humiliation; caused Plaintiff to expend costs and

expenses; and/or otherwise damaged and injured Plaintiff.

       58.     The unlawful conduct of the Defendants was willful, malicious, oppressive, and/or

reckless, and was of such a nature that punitive damages should be imposed against them.

                                SECOND CLAIM FOR RELIEF

                        Violations of Plaintiff’s Due Process Rights
      Against All Defendants Pursuant to 42 U.S.C. § 1983 and the Fifth and Fourteenth
                        Amendments to the United States Constitution

       59.     Plaintiff incorporates by reference the allegations set forth in all preceding and

following paragraphs as if fully set forth herein.

       60.     Defendants City, Adams, Sewell, Maddrey, and Chell designed and/or

implemented policies and practices pursuant to which those Defendants who ordered, effected, and

otherwise participated in seizing Plaintiff and subjected Plaintiff to the violations of his Due

Process rights described elsewhere herein.

       61.     Defendants collectively and individually denied and/or frustrated Plaintiff’s Due

Process rights and deprived Plaintiff of liberty and property without due process of law.

       62.     As a result of Defendants’ acts and omissions, Defendants deprived Plaintiff of his

federal, state, and/or other legal rights; caused Plaintiff bodily injury, pain, suffering,




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 psychological and/or emotional injury, and/or humiliation; caused Plaintiff to expend costs and

 expenses; and/or otherwise damaged and injured Plaintiff.

        63.     The unlawful conduct of the Defendants was willful, malicious, oppressive, and/or

 reckless, and was of such a nature that punitive damages should be imposed against them.

                                  THIRD CLAIM FOR RELIEF

                                         Municipal Liability
   Against Defendants City, Adams, Sewell, Maddrey, and Chell Pursuant to 42 U.S.C. § 1983
  and Monell v. Department of Social Services, 436 U.S. 658 (1978) for Defendants’ Violations
    of Plaintiffs’ Rights Under the First, Fourth, and Fourteenth Amendments to the United
                                         States Constitution
        64.      Plaintiff hereby incorporates by reference the allegations set forth in all preceding

 and following paragraphs as if fully set forth herein.

        65.     The Policymaker Defendants above were responsible for implementing and

 enforcing policies and procedures on behalf of the Defendant City of New York.

        66.     The facts pleaded above describe the policies, practices, and customs Defendants

 subjected the Plaintiff to, including, but not limited to: policies of unlawful searches and seizures,

 executing custodial arrests on DAT-mandatory charges, and excessive detention in NYPD custody

 pursuant to these unlawful arrests.

        67.     Plaintiff incorporates by reference information regarding the policies and practices

 of the New York City Police Department in dealing with DAT-mandatory arrests asserted in

 Douglas et al. v City of New York et al., 153606/2021 (NY Co. 2021).

        68.     Upon information and belief, Defendants have a policy and practice of initiating

 unlawful arrests for low-level offenses in violation of C.P.L. § 150.20(1), et seq. This policy and

 practice is evinced through evidence including the statement referenced above and made to

 Counsel in this matter, Defendants’ treatment of Mr. Huffman and other similarly situated




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 individuals, Defendants’ failure to update Patrol Guide procedures to reflect the prohibition against

 such arrests, and other evidence.

        69.      All of the wrongful acts or omissions complained of herein were carried out by the

 individual named and unnamed police officer defendants pursuant to:

              a. Formal policies, rules, and procedures of Defendant City;

              b. Actions and decisions by Defendant City’s policymaking agents including, but not

                 limited to, the Policymaker Defendants named above;

              c. Customs, practices, and usage of the NYPD that are so widespread and pervasive

                 as to constitute de facto policies accepted, encouraged, condoned, ratified,

                 sanctioned, and/or enforced by Defendant City, Defendant Adams and Defendant

                 Sewell, and other policymaking officials;

              d. Defendant City’s deliberate indifference to Plaintiffs’ rights secured by the First,

                 Fourth, and Fourteenth Amendments of the United States Constitution, as

                 evidenced by the City’s failures, and the failures of the City’s policymaking agents,

                 to train, supervise, and discipline NYPD officers, despite full knowledge of the

                 officers’ wrongful acts, as described herein.

                                 FOURTH CLAIM FOR RELIEF

                                        False Arrest
  Against All Defendants Pursuant to 42 U.S.C. 1983 and Plaintiff’s Rights Under the Fourth
                and Fourteenth Amendments to the United States Constitution

        70.      Plaintiff hereby incorporates by reference the allegations set forth in all preceding

 and following paragraphs as if fully set forth herein.

        71.      Defendants unlawfully restricted Plaintiff’s movement and deprived Plaintiff of his

 liberty without a lawful warrant and without probable cause.




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        72.     The facts available to the NYPD Defendants at the time of Plaintiff’s arrest failed

 to support the charge against him.

        73.     Nevertheless, Defendants unlawfully arrested and detained Plaintiff on multiple

 occasions, and failed to eliminate the invalid i-card against Mr. Huffman following these arrests,

 ensuring future violations of Mr. Huffman’s rights.

        74.     As a result of Defendants’ acts and omissions, Defendants deprived Plaintiff of his

 federal, state, and/or other legal rights; caused Plaintiff bodily injury, pain, suffering,

 psychological and/or emotional injury, and/or humiliation; caused Plaintiff to expend costs and

 expenses; and/or otherwise damaged and injured Plaintiff.

        75.     The unlawful conduct of the Defendants was willful, malicious, oppressive, and/or

 reckless, and was of such a nature that punitive damages should be imposed against them.

        76.     All charges against Mr. Huffman were dismissed.

                                   FIFTH CLAIM FOR RELIEF

                                    Excessive Detention
  Against All Defendants Pursuant to 42 U.S.C. 1983 and Plaintiff’s Rights Under the Fourth
                and Fourteenth Amendments to the United States Constitution

        77.     Plaintiff hereby incorporates by reference the allegations set forth in all preceding

 and following paragraphs as if fully set forth herein.

        78.     Plaintiff was held in NYPD custody approximately six hours by NYPD Defendants

 without justification or cause.

        79.     These detentions violated Plaintiff’s right to be free from continued detention, and

 Plaintiff was aware of this detention.

        80.     Defendants’ conduct in continuing to detain Plaintiff was motivated by Defendants’

 ill will and/or in an attempt to gather additional evidence to justify Plaintiff’s arrest and/or delay

 for delay’s sake.


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         81.     Plaintiff’s detention was in excess of all applicable rules, regulations, and

 restrictions upon Defendants’ authority to seize and/or detain Plaintiff, who was accused of a minor

 and non-violent offense.

         82.     As a result of Defendants’ acts and omissions, Defendants deprived Plaintiffs of his

 federal, state, and/or other legal rights; caused Plaintiff bodily injury, pain, suffering,

 psychological and/or emotional injury, and/or humiliation; caused Plaintiff to expend costs and

 expenses; and/or otherwise damaged and injured Plaintiff.

         83.     Accordingly, Plaintiff is entitled to the damages requested in this Complaint.

                                   SIXTH CLAIM FOR RELIEF

                             Failure to Train and/or Supervise
  Against Defendants City, Adams, Sewell, Maddrey, and Chell Pursuant to 42 U.S.C. § 1983
              and Monell v. Department of Social Services, 436 U.S. 658 (1978)

         84.     Plaintiff incorporates by reference the allegations set forth in all preceding

 paragraphs as if fully set forth herein.

         85.     Defendant City, and its agents Defendants Adams, Sewell, Maddrey, and Chell,

 failed to train and supervise the Defendant NYPD Members.

         86.     All individual Defendants were employees and/or agents of Defendant City and

 were acting within the scope of their employment at the time of the conduct giving rise to Mr.

 Huffman’ injuries.

         87.     Defendants knew or should have known that Defendant NYPD Members were

 likely to violate the constitutional rights of individuals in their custody.

         88.     Defendants know that NYPD Members are certain to regularly encounter situations

 such as those described herein—including the police approach and/or arrest and/or vehicular

 search of Black men—through the course of their employment.




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         89.       Defendants knew that there is a history of wrongful conduct in these scenarios by

 NYPD Members.

         90.       Defendants also knew that individual NYPD Defendants have a documented

 history of adverse credibility findings and/or abusive conduct against individuals they encountered

 during their employment.

         91.       Defendants further knew that training and/or supervision could ameliorate the

 potential harms of constitutional violations in these scenarios, including civil rights violations,

 coerced confessions, and physical and emotional injuries. Nevertheless, Defendants failed to train

 its agents and/or employees regarding their conduct during the scenarios described herein and

 further failed to supervise its agents and/or employees when engaged in high-risk contact.

         92.       By failing to train and supervise Defendant NYPD Members, these Defendants

 exhibited a conscious disregard and/or deliberate indifference for the risks posed by NYPD

 members’ conduct absent adequate training and supervision.

         93.       The harms suffered by Plaintiff are the direct result of Defendants’ failures.

                                  SEVENTH CLAIM FOR RELIEF

                        Negligent Screening, Hiring, and Retention
  Against Defendants City, Adams, Sewell, Maddrey, and Chell Pursuant to 42 U.S.C. § 1983
              and Monell v. Department of Social Services, 436 U.S. 658 (1978)

         94.       Plaintiff incorporates by reference the allegations set forth in all preceding

 paragraphs as if fully set forth herein.

         95.       All Defendants were employees and/or agents of Defendant City and were acting

 within the scope of their employment at the time of the conduct giving rise to Mr. Huffman’

 injuries.

             96.   Defendant City and its agents Defendants Adams and Sewell knew that the

 individual Defendants had a propensity for the conduct giving rise to Mr. Huffman’ injuries.


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          97.    Defendants failed to adequately screen, hire, or retain employees in consideration

 of such employees’ recognizable propensity for harm.

          98.    Such documented history of Defendants’ willingness to lie and/or misrepresent

 facts while under oath and/or otherwise cause harm to individuals subjected to interactions with

 police renders Defendants’ conduct both predictable to and preventable by policymaker

 Defendants.

         99.     Rather than removing or disciplining NYPD members who have provided non-

 credible testimony to courts, policymaker Defendants have continued to employ and empower

 such NYPD members to continue inflicting predictable harm on individuals they interact with,

 including Plaintiff. Such conduct is so foreseeable as to rise to the level of deliberate indifference.

                                  EIGHTH CLAIM FOR RELIEF

                                    Breach of Duty to Protect
                       Against All Defendants Pursuant to 42 U.S.C. § 1983

         100.    Plaintiff incorporates by reference the allegations set forth in all preceding

 paragraphs as if fully set forth herein.

         101.    The Defendant City, by its agents, had a special duty to Plaintiff and possessed

 sufficient knowledge that inaction would lead to the harms suffered by Plaintiff.

         102.    Defendants witnessed and/or knew of the harmful conduct of fellow Defendants

 and merely observed and/or unreasonably ignored such conduct against Plaintiff.

         103.    Defendant City and its employees and/or agents breached the existing duty to

 protect Plaintiff, and such inaction enabled and/or facilitated and/or exacerbated the harms caused

 by Defendants’ conduct and suffered by Plaintiff.




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                                  NINTH CLAIM FOR RELIEF

                         Violations of New York State and City Law
        Pursuant to the New York State Constitution and New York State Common Law

        104.     Plaintiff incorporates by reference the allegations set forth in all preceding and

 following paragraphs as if fully set forth herein.

        105.    As a result of the conduct described herein, Plaintiff was deprived of his liberty,

 suffered specific and serious bodily injury, pain and suffering, psychological and emotional injury,

 great humiliation, costs and expenses, and was otherwise damaged and injured.

                                       I. Respondeat Superior

        106.    The conduct of the police officials alleged herein occurred while they were on duty

 and/or in and during the course and scope of their duties and functions as police officials, and/or

 while they were acting as agents and employees of Defendant City, clothed with and/or invoking

 state power and/or authority, and, as a result, Defendant City is liable to the Plaintiffs pursuant to

 the state common law doctrine of respondeat superior.

                        II. Violations of the New York State Constitution

        107.    Defendants, acting under color of law, violated Plaintiff’s rights pursuant to

 Article I §§ 5, 11, and 12 of the New York State Constitution.

        108.    A damages remedy here is necessary to effectuate the purposes of Article I, §§ 5,

 11, and 12 of the New York State Constitution, and appropriate to ensure full realizations of

 Plaintiff’s rights under those sections.

                     III. Wrongful Search and Seizure and Excessive Force

  The Right of Security Against Unreasonable Search and Seizure and Against Excessive
 Force, Regardless of Whether Such Force Is Used in Connection with a Search or Seizure
                Against Defendant City and NYPD Defendants Pursuant to




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           New York City Administrative Code Title 8, Chapter 8 (§ 8-801, et seq.)

        64.      Plaintiff incorporates by reference the allegations set forth in all preceding and

 following paragraphs as if fully set forth herein.

        65.      As described above, the Defendants violated Plaintiff’s right to be free from

 “unreasonable searches and seizures, and to be secure against the use of excessive force

 regardless of whether such force is used in connection with a search or seizure.”

        66.      Pursuant to NYC Admin. Code Title 8, Chapter 8, §§ 8-801 through 8-809 of

 the New York City Civil Rights Law, Plaintiff maintains a private right of action against the

 individual NYPD Defendants and their employer, Defendant City, for this conduct.

        67.      The NYPD Defendants, including Defendant NYPD Does # 1-5, as employees

 of the Defendant City’s police department, are “covered individuals” as defined in § 8-801 of

 this Chapter.

        68.      Pursuant to § 8-802, et seq., NYPD Defendants and their employer, including

 Defendant City, are liable to Plaintiff for the conduct described herein.

        69.      Pursuant to § 8-803, Plaintiff’s claims under common law or pursuant to any

 other law or rule are not limited or abrogated by his invocation of this statute.

        70.      The remedies provided by this chapter are in addition to any other remedies that

 may be provided for under common law or pursuant to any other law or rule.

        71.      Pursuant to § 8-804, Defendants may not invoke the defense of qualified

 immunity to avoid liability for this cause of action.

        72.      Pursuant to § 8-806, Plaintiff is entitled to compensatory and punitive damages,

 attorney’s fees and costs, and an order restraining the Defendants from engaging in further

 violative conduct.




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                                          IV.     False Arrest

         109.    By the actions described above, the police officials described above did falsely

 detain Plaintiff within the meaning of New York common law without reasonable or probable

 cause, illegally and without a written warrant, and without any right or authority to do so.

         110.    Plaintiff was conscious of the confinement and it was without his consent.

         111.    Even if Mr. Huffman committed an alleged act of criminal mischief, NYPD

 Defendants did not have the lawful authority to arrest Plaintiff under the New York State Criminal

 Procedure Law (C.P.L.) § 150.20(1)(a).

         112.    The C.P.L. mandates that summonses are issued for offenses other than violent

 felonies, sexual offense allegations, charges that may result in the issuance of an order of

 protection, and certain other charges specified under C.P.L. §§ 70.02, 150.20, and other provisions

 of the C.P.L. not applicable here.

         113.    Furthermore, Mr. Huffman did not personally qualify for any of the circumstantial

 exceptions to the C.P.L. forbidding custodial arrest for minor offenses.

         114.    Mr. Huffman did not have any active warrants, had not missed any court

 appearances in the previous two years, he provided his true legal identity and even presented his

 valid identification upon Defendants’ request, he was not on probation or parole, and he did not

 present a danger to himself or others, nor was he alleged to do so.

         115.    Defendants did not have the lawful authority to arrest Plaintiff and/or search

 Plaintiff and his personal belongings having accused him only of a non-violent misdemeanor

 offense related to graffiti, regardless of the validity of the allegations.

         116.    All charges against Mr. Huffman were dismissed.

                       V.      False Imprisonment and Unreasonable Detention




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         117.    By the actions described above, the Defendants described above did falsely detain

 Plaintiff within the meaning of New York common law without reasonable or probable cause,

 illegally and without a written warrant, and without any right or authority to do so. Plaintiff was

 conscious of the confinement, and it was without his consent.

         118.    Defendants’ detention of Plaintiff exceeded the period required and permitted under

 New York law to issue a summons and/or Desk Appearance Ticket, and this excessive period of

 detention had no legal basis or legitimate purpose.

         119.    Plaintiff’s time in custody exceeded the period necessary for Defendants to

 complete their lawful duties, and Defendants are liable to Plaintiff for the time in excess of the

 necessary period of detention.

                                     VI.          Assault and Battery

         120.    Defendants committed assault within the meaning of New York common law

 against Plaintiffs by intentionally placing Plaintiff in fear of imminent harmful or offensive

 contact.

         121.    The force utilized by Defendants was unreasonable and intentional, and this force

 caused significant injury to Plaintiff.

         122.    Defendants committed battery within the meaning of New York common law

 against Plaintiff by intentionally physically contacting Plaintiff without Plaintiff’s consent.

         123.    Defendants did thereby inflict assault and battery upon the Plaintiff.

                                           VII.     Excessive Force

         124.    Defendants’ use of excessive force against Plaintiff was unjustified, objectively

 unreasonable, and clearly intended as punishment when taking into consideration the facts and

 circumstances that confronted Defendants.




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          125.   This conduct caused Plaintiff physical injury and emotional anguish, and

 Defendants are liable to Plaintiff for this conduct and its resulting injuries.

                                           VIII. Negligence

          126.   Defendants owed a special duty to Plaintiff and breached this duty through their

 conduct described herein. Defendants’ negligence in fulfilling their duty to Plaintiff resulted in

 Plaintiff’s injuries and they are liable for this conduct and its resulting injuries.

                           IX.     Negligent Infliction of Emotional Distress

          127.   Defendants owed Plaintiff a duty of care and breached this duty of care through

 the conduct described herein, directly causing the emotional harms, including post-traumatic

 stress, insomnia, depression, and ongoing anxiety and fear.

                         X.      Negligent Hiring, Training, and Supervision

          128.   Upon information and belief, Defendant City supervised and trained the police

 officials described above and did so in a negligent manner resulting in the harms described.

          129.   At all times relevant herein, Defendants were employed by, and acting in the scope

 of their employment with, Defendant City. Defendant City should have known that Defendant

 NYPD Members had a propensity for the conduct causing Plaintiff’s injuries.

          130.   The unlawful conduct of the Defendants was willful, malicious, oppressive, and/or

 reckless, and was of such a nature that punitive damages should be imposed against them.

                                  DEMAND FOR A JURY TRIAL

          Plaintiff hereby demands a jury trial of all issues capable of being determined by a jury.

                       CONCLUSION AND DEMAND FOR JUDGMENT

          WHEREFORE, Plaintiff demands judgment against the individual Defendants and the City

 of New York as follows:

     i.      Actual and punitive damages against the individual Defendants in an amount to be


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             determined at trial;

    ii.      Actual damages in an amount to be determined at trial against the City of New York;

    iii.     Policy change;

    iv.      Statutory attorney’s fees, disbursements, and costs of the action pursuant to, inter alia,

             42 U.S.C. §1988, New York State Civil Rights Law, the New York City Admin. Code,

             § 8-802 et seq., and New York State common law; and

    v.       Such other relief as the Court deems just and proper.


    Dated:      Brooklyn, New York
                February 20, 2024


                                                       KAISHIAN & MORTAZAVI LLC


                                                       By: __________________________
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                                                       By: ___________________________
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                                            PLAINTIFF VERIFICATION

                I, JOHN R. HUFFMAN, affirm the following to be true under the penalties of perjury:


                1.       I am the Plaintiff in the above matter, Huffman v City of New York et al.


                2.       I have read the annexed Verified Complaint and know the contents thereof, and the

        same are true to my knowledge, except those matters therein which are alleged upon information

        and belief, and as to those matters, I believe them to be true.




                  02/20/2024
        Dated: ____________________                                       Signed: _______________________

                                                                                   John R. Huffman
                                                                          Print: _________________________
                                                                            Date of Birth: June 19, 1986



STATE OF NEW YORK               )
                                    SS.
COUNTY OF Kings                )
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On the _______day         February in the year_____,
                    of ___________                 2024 before me, the undersigned notary public, personally appeared
_________________________,
     John R. Huffman             personally known to me or proved to me on the basis of satisfactory evidence to be the
individual(s) whose name(s) is (are) subscribed to the within instrument and acknowledged to me that he/she/they
executed the same in his/her/their capacity(ies), and that by his/her/their signature(s) on the instrument, the individual(s),
or the person upon behalf of which the individual(s) acted, executed the instrument.


      Notarized online using audio-video communication

                                                                     __________________________________
                                                                        Notary Public
